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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


                                                             )
In re                                                        )     Chapter 11
                                                             )
TOUGH MUDDER INC., et al., 1                                 )     Case No. 20-10036 (CSS)
                                                             )
                       Debtors.                              )     Jointly Administered
                                                             )
                                                             )     Objection Deadline:
                                                             )     March 13, 2020, at 4:00 p.m. (EDT)
                                                             )     Hearing Date:
                                                             )     March 23, 2020, at 2:00 p.m. (EDT)
                                                             )

        NOTICE OF HEARING REGARDING CHAPTER 11 TRUSTEE’S MOTION
           FOR ENTRY OF AN ORDER ESTABLISHING PROCEDURES FOR
        INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
                         RETAINED PROFESSIONALS

              PLEASE TAKE NOTICE that on February 28, 2020, Derek C. Abbott, Esq., the
chapter 11 Trustee (the “Trustee”) for Tough Mudder Inc. (“Tough Mudder”) and Tough Mudder
Event Production Inc. (“TM Events” and, together with Tough Mudder, the “Debtors”) filed the
Chapter 11 Trustee’s Motion for Entry of an Order Establishing Procedures for Interim
Compensation and Reimbursement of Expenses for Retained Professionals (the “Motion”).

               PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion must be
(a) in writing and served on or before March 13, 2020, at 4:00 p.m. (EDT) (the “Objection
Deadline”); (b) filed with the Clerk of the Bankruptcy Court, 824 N. Market Street, 3rd Floor,
Wilmington, Delaware 19801; and (c) served so as to be received on or before the Objection
Deadline by the undersigned counsel.

               PLEASE TAKE FURTHER NOTICE that only objections made in writing and
timely filed and received, in accordance with the procedures above, will be considered by the
Bankruptcy Court at such hearing.

           PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE MOTION
WILL BE HELD ON MARCH 23, 2020, AT 2:00 P.M. (EDT) BEFORE THE HONORABLE
CHRISTOPHER S. SONTCHI, AT THE UNITED STATES BANKRUPTCY COURT FOR THE
DISTRICT OF DELAWARE, 824 MARKET STREET, 5TH FLOOR, COURTROOM #6,
WILMINGTON, DELAWARE 19801.
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        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845). The Debtors’
        address is 15 MetroTech Center, Brooklyn, NY 12201.
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           IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: February 28, 2020       MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Wilmington, Delaware
                               /s/ Brett S. Turlington
                               Curtis S. Miller (No. 4583)
                               Matthew B. Harvey (No. 5186)
                               Joseph C. Barsalona II (No. 6102)
                               Brett S. Turlington (No. 6705)
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                               Proposed Counsel for Derek C. Abbott, Esq., as
                               Chapter 11 Trustee to Tough Mudder Inc. and Tough
                               Mudder Event Production Inc.




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